














&nbsp;






In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00221-CR
____________

ELOY RENDON, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 174th District Court 
Harris County, Texas
Trial Court Cause No. 1073543



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We lack jurisdiction to hear this appeal.  Appellant, Eloy Rendon, pleaded
guilty to the offense of burglary of a habitation with intent to commit theft, and,
pleaded true to one enhancement paragraph.  In accordance with his plea bargain
agreement with the State, the trial court sentenced appellant to confinement for 15
years.  Along with the plea, appellant, appellant’s counsel, and the State signed a
stipulation of evidence which included, among others, the following statements: “I
intend to enter a plea of guilty and understand that the prosecutor will recommend
that my punishment should be set at 15 years TDC . . . I agree to that recommendation
. . . Further, I waive my right of appeal which I may have should the court accept the
foregoing plea bargain agreement between myself and the prosecutor.”   

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After the trial court sentenced appellant to punishment that fell within the
terms of the plea bargain agreement, the trial court certified that this case is a plea-
bargain case and the defendant has no right to appeal.  Appellant did not request the
trial court’s permission to appeal any pre-trial matters, and the trial court did  not give 
permission for appellant to appeal.   Appellant filed a timely  pro se notice of appeal. 
This appeal followed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude that the certification of the right of appeal filed by the trial court
is supported by the record and that appellant has no right of appeal due to the agreed
plea bargain.  Tex. R. App. P. 25.2(a).  Because appellant has no right of appeal, we 
must dismiss this appeal “without further action.” Chavez v. State, 183 S.W.3d 675,
680 (Tex. Crim. App. 2006).Accordingly, the appeal is dismissed for lack of jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Any pending motions are denied as moot.
&nbsp;
PER CURIAM
&nbsp;
Panel consists of Chief Justice Radack, and Justices Keyes and Higley.
&nbsp;
Do not publish. Tex. R. App. P. 47.2(b).


